Case No. 1:25-cv-00425-STV          Document 25 filed 03/25/25           USDC Colorado          pg 1
                                           of 10




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

Civil Action No. 24-cv-00425-STV

TINA M. PETERS,

       Applicant,

v.

JOHN FEYEN, in his official capacity as Sheriff of Larimer County, Colorado, and
PHILIP J. WEISER, in his official capacity as Attorney General of the State of Colorado,

       Respondents.

                                   PRE-ANSWER RESPONSE

       Respondents, having been served with this Court’s Order, ECF No. 5, file the following

pre-answer response. Respondents do not assert that the application is untimely but do assert the

exhaustion doctrine precludes habeas review.

                              I.     Federal Habeas Proceedings

       Applicant Tina Peters is serving a jail sentence in the custody of the Larimer County Jail.

ECF No. 1, at 1. She initiated this action by filing an Application for Writ of Habeas Corpus

Pursuant to 28 U.S.C. § 2254 relating to her judgment of conviction in Mesa County Court case

22CR371. Id. at 2-3; ECF No. 2, at 6. She does not challenge her judgment of conviction or

sentence; she challenges only the state courts’ denial of an appeal bond. ECF No. 1, at 2.

                       II.    Background and State Court Proceedings

       While serving as the Clerk and Recorder of Mesa County, Applicant deceived state

officials to obtain credentials that allowed an unauthorized person to access Mesa County’s

voting system after the 2020 election. ECF No. 2, at 45-53, 65-67. A Colorado jury convicted
Case No. 1:25-cv-00425-STV           Document 25 filed 03/25/25              USDC Colorado       pg 2
                                            of 10




Applicant of three counts of attempt to influence a public servant, one count of conspiracy to

commit criminal impersonation, and one count each of: first-degree official misconduct,

violation of duty, and failure to comply with requirements of the Secretary of State. Id. at 113-

14. The trial court sentenced her to a prison term of eight-and-a-half years to be served

consecutively to the six-month jail sentence she is currently serving. Id.

        Applicant filed a motion in the trial court for an appeal bond. ECF No. 2, at 118-23. The

trial court denied the motion because Applicant demonstrated repeatedly that she believed she

was above the law—from deceiving state officials, to violating the State’s rules governing its

election systems, to appearing (with a camera crew) at a voting site in violation of a protection

order issued by the trial court. Id. at 102-05. Applicant exhibited no indication that she

understood the gravity of her criminal conduct. Id. Instead, even after her conviction, she

reaffirmed her position that her conduct was justified by her conspiracy theories about the 2020

election. Id.

        Applicant subsequently filed a notice of appeal and motion for an appeal bond in the

Colorado Court of Appeals (“CCA”). ECF No. 2, at 170-183, 185-221. The CCA denied the

motion. Id. at 184. Applicant’s direct appeal is currently pending in the CCA.

                                  III.    Federal Habeas Claim

        Applicant asserts that her constitutional rights were violated by the state courts’ denial of

an appeal bond, specifically, her:

    1. First Amendment right to free speech;

    2. Fourteenth Amendment right to due process; and


                                                  2
Case No. 1:25-cv-00425-STV          Document 25 filed 03/25/25             USDC Colorado         pg 3
                                           of 10




   3. Right to immunity from prosecution under the Supremacy and Privileges or Immunities
      Clauses.

ECF No. 1, at 11-26.

                                        I.      Jurisdiction

       “A state prisoner has no absolute federal Constitutional right to bail pending appeal.”

Hamilton v. State of N.M., 479 F.2d 343, 344 (10th Cir. 1973). This point of law is well-settled.

Young v. Hubbard, 673 F.2d 132, 134 n.1 (5th Cir. 1982) (collecting cases). However, if a state

creates provisions for bail pending appeal, arbitrary denial of bail violates the Fourteenth

Amendment. U.S. ex rel. Walker v. Twomey, 484 F.2d 874, 875 (7th Cir. 1973).

       Still, “[f]ederal courts do not sit as appellate courts to review the use or abuse of

discretion of state courts in granting or withholding bail pending final appeal.” Hamilton v. State

of N.M., 479 F.2d 343, 344 (10th Cir. 1973); see also Young, 673 F.2d at 134. The scope of

habeas corpus review is limited to a test of the constitutionality of the denial. Young, 673 F.2d at

134. “Thus, the only issue to be resolved by a federal court presented with a habeas corpus

petition that complains of excessive bail is whether the state judge has acted arbitrarily in setting

that bail.” Simon v. Woodson, 454 F.2d 161, 165 (5th Cir. 1972).

                        II.     Respondents do not assert untimeliness.

       A one-year period of limitation applies to an application for writ of habeas corpus. 28

U.S.C. § 2244(d)(1). As relevant here, the period runs from the date on which the judgment

became final upon the conclusion of direct review. See id. Here, the judgment is not yet final

because Applicant’s direct appeal is currently pending, and thus, the habeas clock has not yet

started ticking. Accordingly, Respondents do not assert the defense of untimeliness.

                                                  3
Case No. 1:25-cv-00425-STV           Document 25 filed 03/25/25             USDC Colorado            pg 4
                                            of 10




             III.    The exhaustion doctrine precludes review of the application.

               A.      Applicable Law

       To obtain federal habeas review, a habeas Petitioner must ordinarily exhaust the remedies

available in state court. 28 U.S.C. § 2254(b), (c); Baldwin v. Reese, 541 U.S. 27, 29 (2004);

Demarest v. Price, 130 F.3d 922, 932 (10th Cir. 1997). The purpose of the exhaustion rule is to

give the state courts a full and fair opportunity to resolve federal constitutional claims before

those claims are presented to the federal court, to “protect the state courts’ role in the

enforcement of federal law,” and to “prevent disruption of state judicial proceedings.” Rose v.

Lundy, 455 U.S. 509, 518 (1982). Habeas courts “rigorously enforce[] [a] total exhaustion rule”

as a matter of comity in “our dual system of government,” which requires a federal court to defer

action until state courts have had an opportunity to pass upon the matter. Id.

       To properly exhaust a claim, a state prisoner must give the state courts a full opportunity

to address any constitutional issues by “invoking one complete round of the State’s established

appellate review process.” O’Sullivan v. Boerckel, 526 U.S. 838, 845 (1999). To complete a full

round of the review process in Colorado, an applicant must present the claim to the CCA. Ellis v.

Raemisch, 872 F.3d 1064, 1082 (10th Cir. 2017). The applicant bears the burden of

demonstrating exhaustion. Miranda v. Cooper, 967 F.2d 392, 398 (10th Cir. 1992).

       The exhaustion doctrine requires a habeas petitioner to “fairly present” his claim to the

appropriate state court in a manner that “alert[s] that court to the federal nature of the claim.”

Baldwin, 541 U.S. at 29. General references to the Constitution, due process, equal protection, or

the right to a fair trial are insufficient. Gray v. Netherland, 518 U.S. 152, 163 (1996); Slaughter

v. Parker, 450 F.3d 224, 236 (6th Cir. 2006); Fields v. Waddington, 401 F.3d 1018, 1021 (9th
                                                  4
Case No. 1:25-cv-00425-STV           Document 25 filed 03/25/25             USDC Colorado           pg 5
                                            of 10




Cir. 2005). “A lawyer need not develop a constitutional argument at length, but he must make

one; the words ‘due process’ are not an argument.” Riggins v. McGinnis, 50 F.3d 492, 494 (7th

Cir. 1995).

       Additionally, fair presentation “require[s] a state prisoner to present the state courts with

the same claim he urges upon the federal courts.” Picard v. Connor, 404 U.S. 270, 275-76

(1971). A claim was not fairly presented in state court if the claim presented in the federal habeas

application rests on a different legal theory or different constitutional allegation than the claim

presented to the state courts. Id. at 276-77; see also Ellis, 872 F.3d at 1092 (where petitioner

failed to present to the state court the two distinct bases for alleged ineffective assistance of

counsel, they were not properly exhausted and not properly considered on federal habeas

review).

       When an applicant has presented a claim in state court, but the state court denied it for

failure to follow state procedural rules, the claim is procedurally defaulted. Coleman v.

Thompson, 501 U.S. 722, 731 (1991). A habeas court may not review such claims unless the

ground relied upon by the state court was not an “independent and adequate state ground.” Id. A

state procedural ground is independent if it is “separate and distinct” from federal law and not

interwoven with, or dependent on, federal law. Ake v. Oklahoma, 470 U.S. 68, 75 (1985);

Andrews v. Deland, 943 F.2d 1162, 1188 n.40 (10th Cir. 1991). A state ground is adequate if it is

“firmly established and regularly followed.” Beard v. Kindler, 558 U.S. 53, 60 (2009) (cleaned

up).

       Similarly, when an applicant has not presented a claim in state court, but the claim is now

barred by an independent and adequate state ground, a habeas court is precluded from reviewing
                                               5
Case No. 1:25-cv-00425-STV          Document 25 filed 03/25/25            USDC Colorado         pg 6
                                           of 10




the claim. See Gray, 518 U.S. at 161-62; Coleman, 501 U.S. at n.1; Anderson v. Sirmons, 476

F.3d 1131, 1139 n.7 (10th Cir. 2007) (discussing principle of “anticipatory procedural bar”). In

such circumstances, habeas review is foreclosed because the petitioner “has deprived the state

courts of an opportunity to address those claims in the first instance.” Coleman, 501 U.S. at 731-

32.

               B.      Application of Law

       Applicant asserts that her constitutional rights were violated by the state courts’ denial of

an appeal bond, specifically, her: (1) First Amendment right to free speech; (2) Fourteenth

Amendment right to due process; and (3) right to immunity from prosecution under the

Supremacy and Privileges or Immunities Clauses. ECF No. 1, at 11-26. In her motion for an

appeal bond filed in the CCA, Applicant asserted that her First Amendment right to free speech

was violated when the trial court denied an appeal bond on the basis of her statements. ECF No.

2, at 200-07. However, Applicant did not assert in either of her state court motions that her

Fourteenth Amendment right to due process or her right to immunity from prosecution under the

Supremacy and Privileges or Immunities Clauses would be violated by the denial of an appeal

bond. See generally ECF No. 2, at 118-22, 185-219.

       Applicant’s motion in the CCA contained numerous references to the First Amendment

and various arguments about how her First Amendment rights were violated. See ECF No. 2, at

200-07. In contrast, neither of her state court motions contain any mention of the Fourteenth

Amendment or her right to due process. See generally id. at 118-22, 185-219. Although she

included one generic reference to the federal constitution—stating that the trial court’s rationale

for denial “does not pass muster under the principles of the United States and Colorado
                                                6
Case No. 1:25-cv-00425-STV           Document 25 filed 03/25/25              USDC Colorado           pg 7
                                            of 10




Constitutions,” id. at 207—it is evident from the context that this was a reference to her First

Amendment argument. Id. at 205-07; see Grant v. Royal, 886 F.3d 874, 890 (10th Cir. 2018)

(claim not fairly presented when focus of state court briefing was a different constitutional

claim). Further, a single, fleeting, generic reference to a violation of her constitutional rights is

not enough to exhaust a specific federal constitutional claim. Gray, 518 U.S. at 163; Cole v.

Zavaras, 349 Fed. Appx. 328, 331 (10th Cir. 2009).

        Without any reference to the Fourteenth Amendment or due process—let alone any

development or even argument that this right would be violated by the denial of an appeal

bond—Applicant cannot meet her burden to show that “the ‘substance’ of [her] claim has been

presented to the state courts in a manner sufficient to put the courts on notice of [this] federal

constitutional claim.’” Grant, 886 F.3d at 890; see also Garson v. Perlman, 541 F. Supp. 2d 515,

518 (E.D.N.Y. 2008) (petitioner failed to exhaust his claim that the denial of an appeal bond

violated his constitutional rights because he did not make this claim in state court). Therefore,

the portion of Applicant’s claim containing this assertion is unexhausted and should not be

considered on habeas review. See Connor, 404 U.S at 276-77; Ellis, 872 F.3d at 1092.

        Similarly, Applicant did not fairly present to the state courts the assertion that her right to

immunity from prosecution under the Supremacy and Privileges or Immunities Clauses would be

violated by the denial of an appeal bond. Although Applicant referenced in her state court

motions the pre-trial motion to dismiss she filed based on the Supremacy and Privileges or

Immunities Clauses, ECF No. 2, at 119, 217, at no time did she argue in state court that these

clauses would be violated by the denial of an appeal bond. See generally id. at 118-22, 185-219.

Instead, she merely included the trial court’s denial of her motion to dismiss as one of the nine
                                                  7
Case No. 1:25-cv-00425-STV           Document 25 filed 03/25/25            USDC Colorado         pg 8
                                            of 10




issues she intends to raise in her direct appeal to the CCA. Id. at 119, 213-18. Applicant’s

reference to these clauses in this context did not alert the CCA to the assertion she now raises in

her federal habeas application—that the denial of an appeal bond violated these clauses.

Accordingly, the portion of her claim containing this assertion is unexhausted and should not be

considered on habeas review. See Connor, 404 U.S at 276-77; Ellis, 872 F.3d at 1092.

       Furthermore, Applicant’s assertion that her right to immunity from prosecution under the

Supremacy and Privileges or Immunities Clauses was violated by the denial of an appeal bond is

also precluded under the exhaustion doctrine because it is inextricably tied to a claim Applicant

will challenge on direct appeal: whether her state prosecution was precluded by the Supremacy

and Privileges or Immunities Clauses. See ECF No. 2, at 119, 217. In other words, Applicant

challenges her appeal bond on the same basis on which she will challenge her conviction on

direct appeal. Because Applicant’s direct appeal is pending, the CCA has not yet had an

opportunity to consider the issue. Therefore, under the exhaustion doctrine, this Court must defer

habeas review until the CCA can rule on it. See Lundy, 455 U.S. at 518 (comity requires a habeas

court “rigorously enforce[] [a] total exhaustion rule” and defer action until the state courts rule

on the matter).

       Likewise, to the extent Applicant will challenge the legality of her sentence on First

Amendment grounds based on the trial court’s statements during the sentencing hearing, see ECF

No. 2, at 179 (listing “illegal sentence” as appeal issue), the exhaustion doctrine also precludes

review of the assertion that her First Amendment rights were violated by the denial of an appeal

bond. Again, these claims are inextricably linked because they are both based on the trial court’s

statements during the sentencing hearing, see, e.g., ECF No. 1, at 15. And because Applicant’s
                                                 8
Case No. 1:25-cv-00425-STV           Document 25 filed 03/25/25             USDC Colorado          pg 9
                                            of 10




direct appeal is currently pending, the CCA has not yet had an opportunity to consider the claim

that the trial court’s sentencing considerations—as expressed in its statements at the sentencing

hearing—violated her First Amendment right to free speech. Accordingly, under the exhaustion

doctrine, this Court must defer habeas review until the CCA can rule on the claim. 1 To do

otherwise “would be unseemly in our dual system of government.” Lundy, 455 U.S. at 518.

Indeed, it would allow Applicant a federal end-run around an issue for her state direct appeal.

       It is unclear whether Applicant could return to state court and exhaust her assertion

regarding her Fourteenth Amendment right to due process. Colorado’s appeal bond statute, Colo.

Rev. Stat. § 16-4-204(4) provides: “Nothing contained in this section shall be construed to deny

any party the rights secured by section 21 of article II of the Colorado constitution”—the habeas

corpus provision of the state constitution. Generally, a Colorado defendant must pursue

postconviction relief under Colo. R. Crim. P. 35(c) instead of through habeas corpus. People v.

Wiedemer, 852 P.2d 424, 434 (Colo. 1993). And Colo. R. Crim. P. 35(c)(3)(VII) prohibits

piecemeal postconviction litigation by barring claims that could have been presented in a prior

postconviction proceeding. To the extent Colo. R. Crim. P. 35(c)(3)(VII) bars Applicant from

presenting this new constitutional basis for her claim in state court, it is anticipatorily defaulted.

See Anderson, 476 F.3d at 1139 n.7; see also Ellis, 872 F.3d at 1093 n.7 (Colo. R. Crim. P.

35(c)(3)(VII) is an independent and adequate ground to sustain a procedural default); accord

Lebere v. Abbott, 732 F.3d 1224, 1233 n.13 (10th Cir. 2013).




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 The same is true for any allegation that the conduct underlying Applicant’s convictions was
protected by the First Amendment.
                                                   9
Case No. 1:25-cv-00425-STV          Document 25 filed 03/25/25             USDC Colorado        pg 10
                                            of 10




        In any event, the application is subject to dismissal without prejudice. See § 2254(b)(A)

 (an application for writ of habeas corpus shall not be granted unless the applicant has exhausted

 the remedies available in state court); Lundy, 455 U.S. at 510 (an application containing both

 exhausted and exhausted claims is a mixed petition, subject to dismissal without prejudice);

 Rodriguez v. Dunbar, 09-cv-02620-BNB, 2010 WL 452066, at *3 (D. Colo. Feb. 8, 2010)

 (dismissing mixed petition—containing an unexhausted clam and a defaulted claim—without

 prejudice); see also Davis v. Sellers, 940 F.3d 1175, 1191 (11th Cir. 2019) (a defaulted claim is

 “technically exhausted” because a state remedy is no longer available).

                                        IV.     Conclusion

        Based on the reasons and authorities set forth above, Respondents assert that the

 exhaustion doctrine precludes habeas review and the application is subject to dismissal without

 prejudice.


                                              Respectfully submitted,

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                                              Attorney General


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